          Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                           Crim. Case No. 23-445-ACR

                v.

 RAEKWON MALIK HARROD,

           Defendant.


             UNITED STATES’ MEMORANDUM IN AID OF SENTENCING

        Defendant Raekwon Malik Harrod actively participated in a scheme that caused one

American company to lose more than $900,000. He repeatedly decided to steal from that company

by fraudulently using its UPS account to print shipping labels that he and another conspirator sold

online. He only stopped stealing from that organization when the UPS login credentials stopped

working. Instead of ceasing his criminal conduct, he managed to fraudulently obtain access to a

second company’s UPS account. The FBI interviewed him about his criminal conduct in July 2022.

After that interview, it appears as though he continued to sell UPS labels for a couple of months.

The government respectfully requests that the Court sentence Harrod to 18 months’

imprisonment—the bottom of the recommended U.S. Sentencing Guidelines range—followed by

three years of supervised release. Such a sentence would be sufficient but not greater than

necessary to achieve the purposes of sentencing.

   I.      Background

        Harrod was raised by supportive parents who provided him with a childhood that he

described as being “chill” and free of abuse. PSR ¶ 78-79. Despite witnessing multiple shootings

as a kid, he said he always “swayed towards the positive.” PSR ¶ 79. He graduated from a local




                                                1
          Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 2 of 7




D.C. high school in 2017 in the top forty percent of his class. PSR ¶ 96. He briefly attended college

in Delaware. PSR ¶ 94, 96. His family continues to be supportive of him. PSR ¶ 81-82.

       Towards the end of 2020, Harrod received access to Victim Organization One’s UPS

account. Carl Granada Wilson, Jr. provided him with the compromised account’s log-in

credentials, and Harrod provided them to Khalil Cooper. PSR ¶ 24. At first, Harrod and Cooper,

who both re-sold shoes online, used the account to create UPS shipping labels to ship shoes that

they sold, which reduced their shipping costs to zero. PSR ¶ 25. Cooper then suggested that he and

Harrod use the account to sell UPS shipping labels to third parties. PSR ¶ 26. Harrod readily agreed

and the two proceeded to advertise their new service online. They promoted their illegal business

on Discord and sold labels at prices that ranged from approximately half to significantly less than

half of retail UPS prices. PSR ¶ 27.

       During the course of their conspiracy to defraud Victim Organization One, Cooper and

Harrod each created thousands of UPS labels using Victim Organization One’s account. PSR ¶ 29.

As a result, they caused Victim Organization One to lose at least $920,000. PSR ¶ 40. There is no

doubt that they would have kept stealing from Victim Organization One if they could have. The

only reason they stopped is because their login credentials ceased working. See PSR ¶ 30, 32.

       After they lost access to Victim Organization One’s UPS account, Harrod and Cooper

worked with Wilson to gain access to Victim Organization Two’s UPS account. PSR ¶ 41-42. The

three men then embarked on a criminal journey that involved Harrod and Cooper continuing to

advertise labels online. See generally PSR 41-48.

       On July 19, 2022, the FBI went to Harrod’s Washington, D.C., residence hoping to

interview him about the scheme. Harrod spoke with the agents and confirmed that he understood

he was stealing the shipping labels that he sold. He also said he would stop. In April 2023, the FBI



                                                 2
           Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 3 of 7




returned to Harrod’s residence to give him a target letter. During that meeting, Harrod noted that

he had not sold any additional UPS labels after the FBI approached him in July 2022.

         Between July 20, 2022, and September 20, 2022, Zelle records show Harrod receiving 168

transfers totaling more than $39,550. The overwhelming majority of those transfers did not contain

information in the “payment memo” section. However, 17 of the 168 transactions included one of

the following three descriptions in the payment memo section: “UPS Shipping Labels,” “Labels,”

or “Invoice for Labels.” Those 17 transactions took place between July 25, 2022, just days after

the FBI originally interviewed Harrod, and September 19, 2022, and totaled $11,341. Thus, the

transactions certainly call into question Harrod’s assertion that he did not sell any labels after the

FBI approached him on July 19, 2022.

         On January 5, 2024, Harrod pleaded guilty to one count of conspiracy to commit mail

fraud, in violation of 18 U.S.C. § 371, a five-year statutory maximum offense, which has a base

offense level of 6. USSG § 2B1.1(a)(2). The conduct set forth in his Statement of Offense, ECF

No. 6, also would have supported a conspiracy to commit mail fraud conviction under 18 U.S.C.

§ 1349, which is a twenty-year statutory maximum offense and carries a base offense level of 7.

USSG § 2B1.1(a)(1).

   II.      Sentencing Guidelines

         The parties and the presentence investigation report writer agree that the following

guidelines apply.

   USSG § 2X1.1(c)(1) / 2B1.1(a)(2)            Base Offense Level                             6
   USSG § 2B1.1(b)(1)(H)                       Loss Amount: $550,001 - $1,500,000             14
   USSG § 3E1.1                                Acceptance of Responsibility                   -3
   USSG § 4C1.1                                Zero-Point Offender Adjustment                 -2




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             Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 4 of 7




PSR ¶ 6-7; 59-60, 66-68. The defendant is in Criminal History Category I. PSR ¶ 72. Accordingly,

based on a total offense level of 15 and CHC I, the parties agree that the guidelines recommend a

sentence of 18 to 24 months’ imprisonment and a fine of $7,500 to $75,000. USSG, Ch. 5, Pt. A;

USSG § 5E1.2(c)(3).1

    III.      The 18 U.S.C. § 3553(a) Factors

           The Court must impose a sentence that is sufficient but not greater than necessary to reflect

the seriousness of the offense, to promote respect for the law, to provide just punishment, to afford

adequate deterrence, to protect the public from further crimes of the defendant, and to provide the

defendant with needed educational or vocational treatment. 18 U.S.C. § 3553(a)(2). The Court also

must consider the history and characteristics of the defendant, the kinds of sentences available, the

sentencing range under the guidelines, any relevant policy statements, the need to avoid

unwarranted sentencing disparities, and the need to provide restitution to the victims. 18 U.S.C.

§ 3553(a)(1)-(7).

              A. The Nature and Circumstances of the Offense and the Need for the Sentence
                 to Reflect the Seriousness of the Offense

           The defendant’s fraud was extensive and serious. His criminal conduct was not limited to

just one day, one week, or even one year. On the contrary, he actively participated in a scheme to

defraud two American corporations. He personally created thousands of fraudulent shipping labels

during the scheme. Moreover, it appears that he continued to sell shipping labels even after the

FBI confronted him about the scheme. A sentence at the bottom of the U.S. Sentencing Guidelines

would properly reflect the seriousness of the offense.




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   The Draft PSR recommended a two-level mass-marketing adjustment under USSG
§ 2B1.1(b)(2)(A)(ii). The government and the defense both objected to the application of that
adjustment. See, e.g., ECF No. 14 (Gov’t Response to Presentence Report).
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          Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 5 of 7




           B. The Need to Promote Respect for the Law and to Deter the Defendant and
              Others from This Type of Criminal Conduct

       The defendant’s fraudulent use of corporate UPS accounts allowed him to make a

significant amount of money quickly with minimal effort. He and Cooper simply advertised UPS

labels on Discord, created labels once customers submitted orders, and transmitted the labels to

customers. Given the ease in which they made money, a within-guidelines sentence is necessary

to promote respect for the law and deter other would-be fraudsters from pursuing the same path

that Harrod and Cooper did.

           C. The History and Circumstances of the Defendant

       Harrod’s upbringing was far from perfect. Although he described his childhood as being

“chill,” he witnessed several shootings and “saw a lot” growing up. PSR ¶ 79. He is fortunate,

however, that he never was abused and had two loving parents who continue to support him to this

day. PSR ¶ 81-82.

       Although his father described him as someone who “made a mistake” with the offense

being atypical behavior, PSR ¶ 82, Harrod engaged in this criminal conduct over and over and

over again for a long period of time. He did not stop stealing from Victim Organization One or

Victim Organization Two out of the goodness of his heart or because he felt bad about his criminal

conduct. He only stopped stealing from the first victim because the account login stopped working.

Even then, because he was completely committed to the criminal conduct, Harrod and Cooper

actually brainstormed ways to regain access to the account. PSR ¶ 32. When doing so proved

infeasible, they simply moved on to another company’s UPS account and started using it to

facilitate their fraud scheme.

       Given the defendant’s history and circumstances, the government submits that a sentence

at the bottom of the guidelines is appropriate.

                                                  5
          Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 6 of 7




              D. Unwarranted Sentencing Disparities

        The District of Columbia Circuit has recognized that there will “inevitably . . . [be]

sentencing disparities and inequities that can be explained by little more than the identities of the

sentencing judges.” United States v. Gardellini, 545 F.3d 1089, 1096 (D.C. Cir. 2008); see also

United States v. Saez, 444 F.3d 15, 19 (1st Cir. 2006) (“[W]ith different judges sentencing two

defendants quite differently, there is no more reason to think that the first one was right than the

second.”). The Guidelines “reduce unwarranted federal sentencing disparities,” Freeman v. United

States, 564 U.S. 522, 525 (2011), by “creat[ing] a comprehensive sentencing scheme in which

those who commit crimes of similar severity under similar conditions receive similar sentences.”

Id. at 533.

        A sentencing court “necessarily g[ives] significant weight and consideration to the need to

avoid unwarranted disparities” by “correctly calculat[ing] and carefully review[ing] the Guidelines

range.” Gall v. United States, 552 U.S. 38, 54 (2007). “[I]mposing a within-guidelines sentence is

the surest way to avoid unwarranted disparities.” United States v. White, 737 F.3d 1121, 1145 (7th

Cir. 2013).2



2
  According to the U.S. Sentencing Commission’s Judiciary Sentencing Information (JSIN),
“During the last five fiscal years (FY2019-2023), there were 526 defendants whose primary
guideline was §2B1.1, with a Final Offense Level of 15 and a Criminal History Category of I, after
excluding defendants who received a §5K1.1 substantial assistance departure. For the 350
defendants (67%) who received a sentence of imprisonment in whole or in part, the average length
of imprisonment imposed was 12 month(s) and the median length of imprisonment imposed was
12 month(s). For all 526 defendants in the cell, the average sentence imposed was 10 month(s) and
the median sentence imposed was 12 month(s).” The Commission notes, “The sentencing data
provided does not reflect the Commission’s recommendation regarding the appropriate sentence
to be imposed or represent the Commission’s official position on any issue or case. Nor does the
information provided reflect the Commission’s position regarding the weight to be given, if any,
to the above sentencing information in a court’s determination of the appropriate sentence to be
imposed.” See https://jsin.ussc.gov/analytics/saw.dll?Dashboard (Primary Guidelines §2B1.1,
CHC I / 18-24) (last visited June 18, 2024).


                                                 6
            Case 1:23-cr-00445-ACR Document 17 Filed 06/19/24 Page 7 of 7




    IV.      Restitution and Forfeiture

          The government requests that the Court order the defendant to pay restitution to Victim

Organization One in the amount of $920,000, for which Harrod should be jointly and severally

liable with his coconspirators.3

          The government also requests that the Court orally reference the consent order of

forfeiture—a $384,871 money judgment—at sentencing and include the order in the judgment.

ECF No. 10.

                                          CONCLUSION

          The government requests that the Court sentence defendant Raekwon Malik Harrod to

18 months in prison followed by three years of supervised release.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY
                                                     D.C. Bar No. 481052

                                              By:      /s/ Kondi J. Kleinman
                                                     KONDI J. KLEINMAN
                                                     California Bar No. 241277
                                                     Assistant United States Attorney
                                                     Fraud, Public Corruption & Civil Rights Section
                                                     601 D Street, N.W. | Washington, D.C. 20530
                                                     (202) 252-6887 | Kondi.Kleinman2@usdoj.gov




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 The government will supplement this memorandum with restitution information for Victim
Organization Two upon receipt of such information.
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